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 6 Counsel for Plaintiff

 7

 8                            UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
 9

10    DONNY MACIAS,                                 )   Civil No.
                                                    )
11
                              Plaintiff,            )
12                                                  )
                vs.                                     COMPLAINT FOR DECLARATORY
13
                                                    )
                                                    )   AND INJUNCTIVE RELIEF AND
14    SAFESHRED CO., INC.,                          )   CIVIL PENALTIES
15
                                                    )
                              Defendant.            )   (Federal Water Pollution Control Act, 33
16                                                  )   U.S.C. § 1251 et seq.)
17
                                                    )
                                                    )
18                                                      JURY TRIAL DEMAND
                                                    )
19
                                                    )

20
           Plaintiff Donny Macias (“Plaintiff”), by and through his counsel, alleges as

21
     follows:

22
           1.         This is a citizen suit, brought pursuant to the section 505(a)(1) of the

23
     Federal Water Pollution Control Act (the “Clean Water Act” or “CWA”), 33 U.S.C.

24
     § 1365(a)(1), to address violations of the CWA by defendant Safeshred Co., Inc.

25
     (“Safeshred” or the “Defendant”) arising out of operations at Safeshred’s facility

26
     located at 5928 S. Malt Avenue, Commerce, CA 90040 (the “Facility”).

27
           2.         Since at least April 14, 2015, Defendant has been discharging and

28
     continues to discharge polluted stormwater from the Facility in violation of the
                                                  1
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 1 express terms and conditions of Sections 301 and 402 of the Clean Water Act, 33

 2 U.S.C. §§ 1311, 1342, and in violation of the General Industrial Stormwater Permits

 3 issued by the State of California (NPDES General Permit No. CAS000001 [State

 4 Water Resources Control Board] Water Quality Order No. 92-12-DWQ, as amended

 5 by Order No. 97-03-DWQ) (“1997 Permit”) and Order No. 2014-0057-DWQ (“2015

 6 Permit”) (collectively, the “Industrial Stormwater Permit” or “IGP”).

 7        3.       Plaintiff seeks a declaratory judgment, injunctive relief, the imposition
 8 of civil penalties, and the award of costs, including attorneys’ and expert witness

 9 fees, for Defendant’s repeated and ongoing violations of the Clean Water Act.

10                             JURISDICTION AND VENUE
11        4.       This Court has subject matter jurisdiction over the parties and subject
12 matter of this action pursuant to section 505(a)(1) of the CWA, 33 U.S.C. §

13 1365(a)(1), 28 U.S.C. § 1331 (an action arising under the laws of the United States),

14 and 28 U.S.C. § 2201 (declaratory relief).

15        5.       On April 14, 2020, as required by the CWA, 33 U.S.C. § 1365(b)(1)(A),
16 Plaintiff provided notice of intent to file suit against Defendant for CWA violations

17 (“NoV”) to the Administrator of the United States Environmental Protection Agency

18 (“EPA”); the Regional Administrator of EPA Region IX; the Executive Director of
19 the State Water Resources Control Board (“State Board”); the Executive Officer of

20 the Regional Water Quality Control Board, Los Angeles Region (“Regional Board”)

21 collectively, “state and federal agencies”) and Defendant.

22        6.       The NoV provided Defendant with sufficient information to determine
23 (i) the CWA requirements Plaintiff alleges Defendant violated, (ii) the activity

24 alleged to constitute the violation(s), (iii) sufficient information to determine the

25 date, location, and person responsible for the violation(s), and (iv) the contact

26 information for the Plaintiff and Plaintiff’s Counsel. A copy of the NoV is attached
27 as Exhibit 1.

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 1         7.     More than sixty (60) days have passed since the NoV was served upon
 2 Defendant and the state and federal agencies. During this time, neither the EPA, nor

 3 the State of California, has commenced or is diligently prosecuting a court action to

 4 redress the violations alleged herein. No claim in this action is barred by any prior

 5 administrative action pursuant to section 309(g) of the CWA, 33 U.S.C. § 1319(g).

 6         8.     Venue is proper in the Central District of California pursuant to section
 7 505(c)(1) of the CWA, 33 U.S.C. § 1365(c)(1), because the source of the violations

 8 is located within this judicial district.

 9                                         PARTIES
10         9.     Plaintiff is a citizen of the State of California who, through his
11 recreational activities, uses and enjoys the waters of the Rio Hondo and Los Angeles

12 River, its inflows, outflows, and other waters of the overall Los Angeles River

13 Watershed, of which the Rio Hondo and Los Angeles River are a part. Plaintiff’s

14 use and enjoyment of these waters is negatively affected by the pollution caused by

15 Defendant’s operations. Plaintiff is dedicated to protecting the water quality of the

16 Rio Hondo, the Los Angeles River, and the overall Los Angeles River Watershed,

17 for the benefit of its ecosystems and communities. To further these goals, Plaintiff

18 actively seeks federal and state agency implementation of the CWA, and, where
19 necessary, directly initiates enforcement actions on behalf of himself and for his

20 community.

21         10.    Plaintiff, like other citizens, taxpayers, property owners, and residents
22 of his community, lives, works, travels near, and recreates in, the Rio Hondo, the

23 Los Angeles River, its inflows, outflows, and other waters of the overall Los Angeles

24 River Watershed, of which the Rio Hondo and Los Angeles River are a part, into

25 which Defendant discharges pollutants.        Plaintiff, like other citizens, taxpayers,
26 property owners, and residents, uses and enjoys the Rio Hondo and Los Angeles
27 River, its inflows, outflows, and other waters of the overall Los Angeles River

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 1 Watershed, of which the Rio Hondo and Los Angeles River are a part, for

 2 recreational, educational, scientific, conservation, aesthetic, spiritual, and other

 3 purposes. Defendant’s discharges of stormwater containing pollutants impairs each

 4 of these uses. Thus, Plaintiff’s interests have been, are being, and will continue to

 5 be adversely affected by Defendant’s failure to comply with the CWA and the

 6 Industrial Stormwater Permit.

 7        11.    Plaintiff enjoys going to the Hollydale Regional Park (the Park”).
 8 Plaintiff enjoys relaxing in the park and walking along the paths located in the Park.

 9        12.    The Los Angeles River, at a point immediately after its confluence with
10 the Rio Hondo, runs directly adjacent to the Park, and the Los Angeles River is

11 accessible from the Park by Park goers to recreate and fish in. While at the Park,

12 Plaintiff has witnessed the polluted nature of the Los Angeles River.        She has
13 observed that the Los Angeles River appears both brown and dirty. In addition to

14 her visual observation of the water, Plaintiff has also noticed an unpleasant smell

15 coming from the water.

16        13.    Plaintiff is aware that Defendant’s Facility is located a short distance
17 away upstream from the Park and that the pollution contained in stormwater runoff

18 from the Facility flows downstream through the Rio Hondo, the Los Angeles River
19 and the Park before ultimately reaching the Pacific Ocean. Plaintiff believes that

20 this has degraded the beauty of the Park and curtailed his enjoyment of the Park.

21        14.    Plaintiff intends to return to the Park in the future and believes that
22 reducing Defendant’s pollution of the Rio Hondo and Los Angeles River will

23 improve the water quality in the Rio Hondo and Los Angeles River and allow him

24 the opportunity to better enjoy the recreational and aesthetic interests in the Rio

25 Hondo, Los Angeles River, and the Park.

26        15.    Defendant is a California Corporation with headquarters at 5928 S.
27 Malt Avenue, Commerce, CA 90040.

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 1        16.    Defendant owns and operates the Facility, located at 5928 S. Malt
 2 Avenue, Commerce, CA 90040.

 3        17.    The Facility offers paper shredding, product destruction, media
 4 destruction, and e-waste recycling services. Industrial activities carried out at the

 5 Facility include (i) paper shredding; (ii) product destruction; (iii) media destruction;

 6 (iv) e-waste recycling; (v) materials storage; and (vi) equipment storage. Repair and

 7 maintenance activities carried out at the Facility include, but are not limited to,

 8 electrical, plumbing, roofing, asphalt, concrete, and utilities repairs as well as

 9 janitorial duties.

10        18.    The Facility’s industrial activities fall under Standard Industrial
11 Classification (“SIC”) Code 5093, relating to Scrap and Waste Recycling.

12 Defendant applied for and received coverage under the California Industrial General

13 Permit since at least 2014, and was issued WDID No. 4 19I025191. Defendant

14 reapplied for coverage under the 2015 Industrial Stormwater Permit, and was

15 granted the continued use of its previously issued WDID No. These “Notice of

16 Intents” for the Facility to comply with the terms of the Industrial Stormwater Permit

17 list “Safeshred Co Inc” as the Facility name and “5928 S Malt Ave, Commerce CA

18 90040” as the Facility address. Plaintiff is therefore informed and believes and
19 thereon alleges that Defendant owns and/or operates the Facility.

20                          REGULATORY BACKGROUND
21 The Problem of Stormwater Pollution

22        19.    Stormwater runoff is one of the most significant sources of water
23 pollution in the nation and has been recognized as a leading cause of significant and

24 cumulative harmful impacts to the water quality of the Rio Hondo, the Los Angeles

25 River, its inflows, outflows, and other waters of the overall Los Angeles River

26 Watershed, of which the Rio Hondo and Los Angeles River are a part. With every
27 rainfall event, significant amounts of polluted rainwater flow from local industrial

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 1 facilities, such as the Facility, and pour into storm drains, local tributaries, and

 2 directly into the Rio Hondo and Los Angeles River, its inflows, outflows, and other

 3 waters of the overall Los Angeles River Watershed, of which the Rio Hondo and

 4 Los Angeles River are a part.

 5        20.    Stormwater runoff from industrial sites such as the Facility causes harm
 6 to humans and aquatic life.     In particular, stormwater can contain heavy metal
 7 pollutants such as aluminum, chromium, copper, iron, lead, mercury, nickel, tin, and

 8 zinc, as well as high concentrations of suspended solids, and nitrate plus nitrite

 9 nitrogen. Exposure and ingestion of heavy metals can cause health problems in

10 people and aquatic animals, including neurological, physiological, and reproductive

11 effects. Heavy metals have been shown to alter activity in tissues and blood of fish.

12        21.    High concentrations of total suspended solids (“TSS”) degrade optical
13 water quality by reducing water clarity and decreasing light available to support

14 photosynthesis.    TSS has been shown to alter predator/prey relationships (for
15 example, turbid water might make it difficult for fish to see their prey). Deposited

16 solids alter habitat for fish, aquatic plants, and benthic organisms. TSS can also be

17 harmful to aquatic life because numerous pollutants, including metals and polycyclic

18 aromatic hydrocarbons (“PAHs”), are absorbed onto TSS.                 Thus, higher
19 concentrations of TSS mean higher concentrations of toxins associated with those

20 sediments. Inorganic sediments, including settleable matter and suspended solids,

21 have been shown to negatively impact species richness, diversity, and total biomass

22 of filter feeding aquatic organisms on bottom surfaces.

23 The Clean Water Act

24        22.    CWA section 301(a), 33 U.S.C. § 1311(a), prohibits the discharge of
25 any pollutant into waters of the United States unless the discharge is in compliance

26 with various enumerated CWA requirements. Among other things, CWA section
27 301(a) prohibits discharges not authorized by, or in violation of, the terms of a

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 1 National Pollutant Discharge Elimination System (“NPDES”) permit issued

 2 pursuant to CWA section 402, 33 U.S.C. § 1342.

 3        23.    CWA section 402(b), 33 U.S.C. § 1342(b), allows each state to
 4 administer its own EPA approved permit program for discharges. In California, the

 5 State Board and its nine Regional Boards have approval from EPA to administer an

 6 NPDES permit program for the State. The State Board and Regional Boards issue

 7 individual and general NPDES permits regulating water pollutant discharges from

 8 various categories of dischargers.

 9        24.    CWA section 402(p), 33 U.S.C. § 1342(p), requires that NPDES
10 permits be issued for stormwater discharges “associated with industrial activity.”

11        25.    CWA section 301(b) required that, by March 31, 1989, all point source
12 dischargers, including those discharging polluted stormwater must achieve

13 technology based effluent limitations by utilizing the Best Available Technology

14 Economically Achievable (“BAT”) for toxic and nonconventional pollutants and the

15 Best Conventional Pollutant Control Technology (“BCT”) for conventional

16 pollutants. See 33 U.S.C. § 1311(b); 40 C.F.R. § 125.3(a)(2)(ii)-(iii).

17        26.    CWA section 505(a)(1) provides for citizen enforcement actions
18 against any “person,” including individuals, corporations, or partnerships, for
19 violations of NPDES permit requirements and for unpermitted discharges of

20 pollutants. 33 U.S.C. § 1365(a)(1), see 33 U.S.C. § 1362(5).

21        27.    CWA section 505(a) authorizes a citizen suit action for injunctive relief.
22 33U.S.C. § 1365(a).

23        28.    CWA violators are subject to an assessment of civil penalties of up to
24 $51,570 per day per violation for violations occurring after November 2, 2015 and

25 $37,500 per day per violation for violations occurring after January 12, 2009 but

26 before November 2, 2015. 33 U.S.C. § 1319(d), 40 C.F.R. §§ 19.1-19.4.
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 1 State Regulations

 2         29.    Section 303 of the CWA, 33 U.S.C. § 1313, requires states to adopt
 3 Water Quality Standards, including water quality objectives and beneficial uses for

 4 navigable waters of the United States. The CWA prohibits discharges from causing

 5 or contributing to a violation of such state Water Quality Standards. See 33 U.S.C.

 6 § 1311(b)(1)(c); 40 C.F.R. §§ 122.4(a), (d); 40 C.F.R. § 122.44(d)(1).

 7         30.    The State of California regulates water quality through the State Board
 8 and nine Regional Boards, and each Regional Board maintains a separate Water

 9 Quality Control Plan which contains Water Quality Standards for water bodies

10 within its geographic area.

11         31.    Water Quality Standards (“WQS”) applicable to Defendant are set forth
12 in the California Toxic Rule (“CTR”)1 and the Inland Surface and Coastal Waters of

13 Los Angeles and Ventura Counties Water Quality Control Plan (the “Basin Plan”).

14 Exceedances of WQS constitute violations of the Industrial Stormwater Permit, the

15 CTR, and the Basin Plan.

16         32.    The Basin Plan establishes WQS for all various areas of the inland
17 surface and coastal waters of Los Angeles and Ventura Counties, including the

18 waters of the Rio Hondo, Los Angeles River, its inflows, outflows, and other waters
19 of the overall Los Angeles River Watershed, of which the Rio Hondo and Los

20 Angeles River are a part and its tributaries, including but not limited to the following:

21                a.     Waters shall not contain suspended or settleable material in
22                concentrations that cause nuisance or adversely affect beneficial users;
23                b.     Waters shall be free of changes in turbidity that cause nuisance
24                or adversely affect beneficial uses.         Increases in natural turbidity
25                attributable to controllable water quality factors shall not exceed 20%
26
   1 The CTR is set forth at 40 C.F.R. § 131.38 and is explained in the Federal Register preamble
27 accompanying the CTR promulgation set forth at 65 Fed. Reg. 31, 682 (May 18, 2000).

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 1                where natural turbidity is between 0 and 50 nephelometric turbidity
 2                units (“NTU”), and shall not exceed 10% where the natural turbidity is
 3                greater than 50 NTU;
 4                c.      All waters shall be maintained free of toxic substances in
 5                concentrations that are toxic to, or that produce detrimental
 6                physiological responses in, human, plant, animal, or aquatic life; and
 7                d.      Surface waters shall not contain concentrations of chemical
 8                constituents in amounts that adversely affect any designated beneficial
 9                use.
10         33.    In addition, the EPA has promulgated WQS for toxic priority pollutants
11 in all California water bodies (the “California Toxics Rule” or “CTR”), which

12 include and apply to the Rio Hondo, Los Angeles River, its tributaries, and the

13 overall Los Angeles River Watershed, including the Rio Hondo and Los Angeles

14 River, unless expressly superseded by the Basin Plan. 65 Fed. Reg. 31,682 (May

15 18, 2000); 40 C.F.R. § 131.38.

16 The Industrial Stormwater Permit

17         34.    In California, the State Board has elected to issue a single, statewide
18 general permit applicable to all stormwater discharges associated with industrial
19 activity. On April 17, 1997, the State Board adopted the 1997 Permit, which was in

20 effect through June 30, 2015. On July 1, 2015, the 2015 Permit became effective

21 and superseded the 1997 Permit, except for enforcement purposes.2 To discharge

22 stormwater lawfully in California, industrial dischargers must secure coverage under

23 the Industrial Stormwater Permit and comply with its terms or obtain and comply

24

25
   2 Notably, the 2015 Permit is much more comprehensive than its predecessor, including expanding
26 its purview to “Light Industry” uses previously exempted, and including more prescriptive
   requirements for various parts of permit compliance, including BMPs, NALs, SWPPP
27 requirements, Total Daily Maximum Loads for receiving waters, amongst others. See generally,

28 2015 Permit.
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 1 with an individual NPDES permit.            1997 Permit, p. II; 2015 Permit, Section
 2 I(A)(Findings 8, 12).

 3        35.      The Industrial Stormwater Permit is an NPDES permit issued pursuant
 4 to CWA section 402(p), 33 U.S.C. § 1342(p).                Violations of the Industrial
 5 Stormwater Permit are also violations of the CWA. 1997 Permit, Section C(1); 2015

 6 Permit, Section XXI(A).

 7        36.      The   Industrial     Stormwater   Permit   contains   certain   absolute
 8 prohibitions.     The Industrial Stormwater Permit prohibits the direct or indirect
 9 discharge of materials other than stormwater (“non-stormwater discharges”), which

10 are not otherwise authorized by an NPDES permit, to the waters of the United States.

11 1997 Permit, Order Part A(1); 2015 Permit, Section III(B).              The Industrial
12 Stormwater Permit prohibits stormwater discharges that cause or threaten to cause

13 pollution, contamination, or nuisance (1997 Permit, Order Part A(2); 2015 Permit,

14 Sections III(C), VI(C)) and discharges that adversely impact human health or the

15 environment (1997 Permit, Order Part C(1); 2015 Permit, Section VI(B)). Finally,

16 the Industrial Stormwater Permit prohibits discharges that cause or contribute to an

17 exceedance of any applicable water quality standard contained in a Statewide Water

18 Quality Control Plan or the applicable Regional Board’s Basin Plan. 1997 Permit,
19 Order Part C(2); 2015 Permit, Section VI(A).

20        37.      On April 1, 2014, the State Board adopted an updated NPDES General
21 Permit for Discharges Associated with Industrial Activity, Water Quality Order No.

22 2014-57-DWQ, effective as of July 1, 2015. As of the effective date, Water Quality

23 Order No. 2014-57-DWQ supersedes and rescinds the current Industrial Stormwater

24 Permit, Water Quality Order No. 97-03-DWQ, except for purposes of enforcement

25 actions brought pursuant to the Industrial Stormwater Permit, Water Quality Order

26 No. 97-03-DWQ.
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 1          38.    Notably, under the 2015 Permit, all “Light Industry” facilities falling
 2 under SIC where industrial materials, equipment, or activates are not exposed to

 3 stormwater are now required to obtain coverage under the IGP. 3

 4          39.    Under the CWA and the Industrial Stormwater Permit, dischargers
 5 must employ Best Management Practices (“BMPs”) that constitute BAT and BCT

 6 to reduce or eliminate stormwater pollution. 33 U.S.C. § 1311(b); 1997 Permit,

 7 Order Part B(3); 2015 Permit, Section X(H). The EPA has developed benchmark

 8 levels (“Benchmarks”) that are objective guidelines to evaluate whether a

 9 permittee’s BMPs achieve compliance with the BAT/BCT standards. Final National

10 Pollutant Discharge Elimination System (NPDES) General Permit for Stormwater

11 Discharges From Industrial Activities (“Multi-Sector Permit”), 65 Fed. Reg. 64,746,

12 64,766-67 (Oct. 30, 2000); Multi Sector Permit, 73 Fed. Reg. 56,572, 56,574 (Sept.

13 29, 2008); Multi Sector Permit, 80 Fed. Reg. 34,403 (June 16, 2015).

14          40.    The 2015 Permit includes Numeric Action Limits (NALs) that are
15 based on Benchmarks. 2015 Permit, Section I(M) (Finding 62). Like Benchmarks,

16 the NALs indicate “the overall pollutant control performance at any given facility.”

17 Id. Section I(M) (Finding 61).

18          41.    Dischargers must develop and implement a Storm Water Pollution
19 Prevention Plan (“SWPPP”) at the time industrial activities begin. 1997 Permit,

20 Section A(1)(a) and Order Part E(2); 2015 Permit, Sections I(I) (Finding 54), X(B).

21 The SWPPP must identify and evaluate sources of pollutants associated with

22 industrial activities that may affect the quality of stormwater and authorized non-

23 stormwater discharges from the facility. 1997 Permit, Section A(2); 2015 Permit,

24 Section X(G). The SWPPP must identify and implement site-specific BMPs to

25

26 3 Light Industry” facilities are included in the category of “Manufacturing Facilities” defined in
   the Industrial Stormwater Permit as “Facilities with Standard Industrial Classifications (SICs)
27 20XX through 39XX, 5221 through 4225.”3 See, Industrial Stormwater Permit, Attachment A,

28 Category 2.
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 1 reduce or prevent pollutants associated with industrial activities in stormwater and

 2 authorized non-stormwater discharges. 1997 Permit, Section A(2); 2015 Permit,

 3 Section X(H). The SWPPP must include BMPs that achieve pollutant discharge

 4 reductions attainable via BAT and BCT. 1997 Permit, Order Part B(3); 2015 Permit,

 5 Sections I(D) (Finding 32), V(A).

 6         42.   The SWPPP must include: a narrative description and summary of all
 7 industrial activity, potential sources of pollutants, and potential pollutants; a site map

 8 indicating the stormwater conveyance system, associated points of discharge,

 9 direction of flow, areas of actual and potential pollutant contact, including the extent

10 of pollution generating activities, nearby water bodies, and pollutant control

11 measures; a description of stormwater management practices; a description of the

12 BMPs to be implemented to reduce or prevent pollutants in stormwater discharges

13 and authorized non-stormwater discharges; the identification and elimination of non-

14 stormwater discharges; the location where significant materials are being shipped,

15 stored, received, and handled, as well as the typical quantities of such materials and

16 the frequency with which they are handled; a description of dust and particulate-

17 generating activities; and a description of individuals and their current

18 responsibilities for developing and implementing the SWPPP. 1997 Permit, Section
19 A(1)-(10); 2015 Permit, Section X.

20         43.   The Industrial Stormwater Permit also requires facility operators to
21 properly operate and maintain any facilities and systems of treatment and control

22 installed or used to achieve compliance with the conditions of the Industrial

23 Stormwater Permit and requirements of the SWPPP at all times.              1997 Permit,
24 Section C(5); 2015 Permit, Section XXI(F).

25         44.   The SWPPP and site maps must be assessed annually and revised as
26 necessary to ensure accuracy and effectiveness. 1997 Permit, Sections A(1), B(3)-
27 (4); 2015 Permit, Sections I(J) (Finding 55), X(B)(1).

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 1         45.   The 1997 Permit required facility operators to develop and implement
 2 a monitoring and reporting program (“MRP”) when industrial activities begin at a

 3 facility. 1997 Permit, Section B(1)-(2) and Order Part E(3). The MRP must ensure

 4 that stormwater discharges are in compliance with the Discharge Prohibitions,

 5 Effluent Limitations, and Receiving Water Limitations specified in the 1997 Permit.

 6 Id. at Section B(2). The MRP must ensure that practices at the facility to prevent or

 7 reduce pollutants in stormwater and authorized non-stormwater discharges are

 8 evaluated and revised to meet changing conditions at the facility, including revision

 9 of the SWPPP. Id.

10         46.   Facilities are required to make monthly visual observations of storm
11 water discharges. The visual observations must represent the quality and quantity

12 of the facility’s storm water discharges form the storm event. 1997 Permit, § B(7);

13 2015 Permit, § XI.A.

14         47.   The 2015 Permit requires facility operators to monitor and sample
15 stormwater discharges to ensure that the facility is complying with the terms of the

16 permit. 2015 Permit, Sections I(J) (Findings 55-56); XI.

17         48.   Under the 1997 Permit, facilities must analyze storm water samples for
18 “toxic chemicals and other pollutants that are likely to be present in storm water
19 discharges in significant quantities.” 1997 Permit, § B(5)(c)(ii). Under the 2015

20 Permit, facilities must analyze storm water samples for “[a]dditional parameters

21 identified by the Discharger on a facility-specific basis that serve as indicators of the

22 presence of all industrial pollutants identified in the pollutant source assessment.”

23 2015 Permit, § XI(B)(6)(c).

24         49.   Pursuant to the monitoring and reporting requirements of the Industrial
25 Stormwater Permit, facility operators must conduct ongoing visual observations of

26 stormwater and non-stormwater discharges and record responsive measures taken to
27 eliminate unauthorized non-stormwater discharges and to reduce or prevent

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 1 pollutants in stormwater and authorized non-stormwater discharges. 1997 Permit,

 2 Sections B(3)-(4); 2015 Permit, Section XI(A).        Facility operators must collect
 3 samples of stormwater discharges from all locations where stormwater may be

 4 discharged from the facility. 1997 Permit, Sections B(5), (7); 2015 Permit, Section

 5 XI(B)(4)-(5). As a part of MRP, these collections and analyses must be conducted

 6 twice a year; samples must be collected during “the first hour of discharge from (1)

 7 the first storm event of the wet season, and (2) at least one other storm event in the

 8 wet season.” Id. Through the 2014-2015 reporting period, facility operators were

 9 required to analyze stormwater samples for pH, total suspended solids, total organic

10 carbon (or oil and grease as a substitute), specific conductance, toxic chemicals, and

11 other pollutants which are likely to be present in significant quantities in stormwater

12 discharging from the facility. 1997 Permit, Section B(5).

13        50.    Section XI(B)(2) of the 2015 Permit requires that dischargers collect
14 and analyze storm water samples from two qualifying storm events (“QSEs”) during

15 the first half of each reporting year (July 1 to December 31) and two QSEs during

16 the second half of each reporting year (January 1 to June 30).

17        51.    The EPA has established the Benchmark values as guidelines for
18 determining whether a facility discharging industrial storm water has implemented
19 the requisite BAT and BCT.         See, U.S. EPA Multi-Sector General Permit for
20 Stormwater Discharges Associated with Industrial Activity (the “MSGP”). These

21 Benchmarks represent pollutant concentrations at which a storm water discharge

22 could potentially impair, or contribute to impairing, water quality, or affect human

23 health from ingestion of water or fish. Notably, the Benchmark levels contained in

24 the MSGP is “consistent” with the BMPs required of facilities under the Industrial

25 Stormwater Permit, and serve as the reference point for the Numeric Action Levels

26 (“NALs”) contained in the IGP itself. 2015 Permit I(D)(33).
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 1         52.   These Benchmarks are reflected in the 2015 Permit in the form of
 2 Numeric Action Levels (“NALs”). The 2015 Permit incorporates annual NALs,

 3 which are derived from a Water Board dataset. The following NALs have been

 4 established under the 2015 Permit for facilities under SIC code 5093: (i) Oil &

 5 Grease – 15.0 Mg/L; (ii) Total Suspended Solids (“TSS”) – 100 Mg/L; (iii)

 6 Aluminum – 0.75 Mg/L; (iv) Lead – 0.262 Mg/L ; (v) Iron – 1.0 Mg/L; (vi) Zinc –

 7 0.26 Mg/L; and (vii) Chemical Oxygen Demand – 120 Mg/L. An exceedance of

 8 annual NALs occurs when the average of all samples obtained for an entire facility

 9 during a single reporting year is greater than a particular annual NAL. The reporting

10 year runs from July 1 to June 30. The 2015 Permit also established the following

11 instantaneous maximum NALs for all permitted facilities: (i) pH – 6.0 – 9.0 s.u.; (ii)

12 TSS – 400 Mg/L; and (iii) Oil & Grease – 25 Mg/L. An instantaneous maximum

13 NAL exceedance occurs when two or more analytical results from samples taken for

14 any single parameter within a reporting year exceed the instantaneous maximum

15 NAL value (for TSS and O&G) or are outside of the instantaneous maximum NAL

16 range for pH. When a discharger exceeds an applicable NAL, it is elevated to “Level

17 1 Status,” which requires revision of the SWPPP and additional BMPs.             If a
18 discharger exceeds an applicable NAL during Level 1 Status, it is then elevated to
19 “Level 2 Status.” For Level 2 Status, a discharger is required to submit an Action

20 Plan requiring a demonstration of either additional BMPs to prevent exceedances, a

21 determination that the exceedance is solely due to non-industrial pollutant sources,

22 or a determination that the exceedance is solely due to the presence of the pollutant

23 in the natural background.

24         53.   Section B(14) of the 1997 Permit requires dischargers to include
25 laboratory reports with their Annual Reports submitted to the Regional Board. This

26 requirement is continued with the 2015 Permit. 2015 Permit, Fact Sheet, Paragraph
27 O.

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 1        54.    Section 505(a)(1) and Section 505(f) of the Act provide for citizen
 2 enforcement actions against any “person,” including individuals, corporations, or

 3 partnerships, for violations of NPDES permit requirements. 33 U.S.C. §§1365(a)(1)

 4 and (f), § 1362(5). An action for injunctive relief under the Act is authorized by 33

 5 U.S.C. § 1365(a). Violators of the Act are also subject to an assessment of civil

 6 penalties of up to $51,570 per day per violation for violations occurring after

 7 November 2, 2015 and $37,500 per day per violation for violations occurring after

 8 January 12, 2009 but before November 2, 2015. 33 U.S.C. § 1319(d), 40 C.F.R. §§

 9 19.1-19.4. See also 40 C.F.R. §§ 19.1 -19.4.

10                              STATEMENT OF FACTS
11 Facility Background

12        55.    Defendant operates the Facility located at 5928 S. Malt Avenue,
13 Commerce, CA 90040.

14        56.    The Facility is regulated by the Industrial Stormwater Permit.
15        57.    Defendant submitted or was covered by a Notice of Intent to comply
16 with the Industrial Stormwater Permit to the State Board at least 2014 and in 2015.

17        58.    Operations at the Facility include paper shredding, product destruction,
18 media destruction, and e-waste recycling services. Industrial activities carried out
19 at the Facility include (i) paper shredding; (ii) product destruction; (iii) media

20 destruction; (iv) e-waste recycling; (v) materials storage; and (vi) equipment storage.

21 Repair and maintenance activities carried out at the Facility include, but are not

22 limited to, electrical, plumbing, roofing, asphalt, concrete, and utilities repairs as

23 well as janitorial duties.

24        59.    Certain operations at the Facility occur outdoors and are causing
25 pollutants to be exposed to rainfall.

26        60.    Specifically, plaintiff is aware of industrial processes at the Facility
27 exposed to stormwater, including, but not limited to:

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 1              a. The storage of large amounts of industrial machinery and products
 2                 outdoors and not under cover (many of which display visible signs of
 3                 weathering damage, such as rust), including such specific items as:
 4                    i. Large amounts of pallets;
 5                    ii. Large amounts of paper and cardboard waste bales;
 6                   iii. Large amounts of refuse;
 7                   iv. Loose unsecured paper waste;
 8                    v. Forklifts;
 9                   vi. Shipping Containers;
10                  vii. Dumpsters; and
11                  viii. Trucks.
12              b. The carrying out of industrial processes outdoors and not under cover,
13                 including the use of the industrial machinery and products mentioned
14                 above; and
15              c. The storage of industrial waste and refuse outdoors not under cover and
16                 exposed to stormwater, including the use of dumpsters, trash cans, and
17                 accumulation of waste.
18        61.      Vehicles and equipment at the Facility expose many other sources of
19 pollution to the elements, including gasoline, diesel fuel, anti-freeze, battery fluids,

20 and hydraulic fluids.

21        62.      The types of pollutants released by the Facility into the immediate
22 environment are known to include, or have the potential to include, among other

23 contaminants; total suspended solids (“TSS”), waste oils, lubricants, fuel, trash,

24 debris, hazardous materials, oil and grease, pH, heavy metals, and other pollutants.

25        63.      The industrial materials stored and the pollutants generated at the
26 Facility are exposed to stormwater flows.
27

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 1        64.    Activities at the Facility generate significant debris and particulate
 2 matter, which contain pollutants and settle on surfaces within the Facility. During

 3 rain events, this pollution washes off of those surfaces and flows into the Rio Hondo

 4 and Los Angeles River, its inflows, outflows, and other waters of the overall Los

 5 Angeles River Watershed, of which the Rio Hondo and Los Angeles River are a part.

 6 Stormwater from the Facility discharges into the Rio Hondo, the Los Angeles River,

 7 its inflows, outflows, and other waters of the overall Los Angeles River Watershed,

 8 of which the Rio Hondo and Los Angeles River are a part.

 9 Activities Contributing to CWA Violations

10        65.    Defendant has not developed and/or implemented an adequate SWPPP
11 at the Facility, as evidenced by the various violations stated above, at ¶¶ 59-64 supra.

12        66.    Defendant has not developed and/or implemented BMPs that
13 adequately minimize the exposure of pollutants to stormwater at the Facility, as

14 evidenced by the various violations stated above, at ¶¶ 59-64 supra.

15        67.    Defendant has not developed and/or implemented BMPs at the Facility
16 that adequately control and minimize polluted runoff from the Facility, as evidenced

17 by the various violations stated above, at ¶¶ 59-64 supra.

18        68.    Defendant has not developed and/or implemented BMPs at the Facility
19 that adequately treat and remove pollutants in stormwater prior to discharge, as

20 evidenced by the various violations stated above, at ¶¶ 59-64 supra.

21        69.    Defendant has not developed and/or implemented adequate BMPs
22 necessary to reduce or eliminate stormwater pollution that constitute BAT/BCTs, as

23 evidenced by the various violations stated above, at ¶¶ 59-64 supra.

24        70.    Defendant has not developed and/or implemented adequate BMPs at
25 the Facility to achieve stormwater discharges that meet EPA Benchmarks or

26 applicable Water Quality Standards, as evidenced by the various violations stated
27 above, at ¶¶ 59-64 supra.

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 1        71.      Defendant has not adequately evaluated and revised the Facility’s
 2 SWPPP to address these failures, as evidenced by the various violations stated

 3 above, at ¶¶ 59-64 supra. Defendant has also failed to properly operate and maintain

 4 the structures and systems that have been put in place at the Facility to achieve

 5 compliance with the Industrial Stormwater Permit and its SWPPP requirements, as

 6 evidenced by the various violations stated above, at ¶¶ 59-64 supra.

 7        72.      Defendant has not developed and/or implemented an adequate MRP at
 8 the Facility which has resulted in practices that do not adequately reduce or prevent

 9 pollutants from discharging from the stormwater flows from the Facility, as

10 evidenced by the various violations stated above, at ¶¶ 59-64 supra.

11        73.      Defendant’s monitoring activities, or lack thereof, have not effectively
12 identified compliance problems at the Facility or resulted in effective revisions of

13 the SWPPP, as evidenced by the various violations stated above, at ¶¶ 59-64 supra.

14        74.      Defendant has failed to address these issues in the ERA process as
15 proscribed by the IGP, as evidenced by the various continuous and ongoing

16 violations stated above, at ¶¶ 59-64 supra.

17        75.      Due to Defendant’s lack of effective pollution prevention measures,
18 including effective BMPs, and its failure to implement an effective monitoring and
19 reporting program, stormwater from the Facility becomes polluted with many

20 constituents.     The potential pollutants from the Facility include among other
21 contaminants; total suspended solids (“TSS”), waste oils, lubricants, fuel, trash,

22 debris, hazardous materials, oil and grease, pH, heavy metals such as Iron,

23 Aluminum, Lead, and Zinc, and other pollutants. Stormwater from the Facility

24 discharges, via the local storm sewer system and/or surface runoff, directly into the

25 Rio Hondo, the Los Angeles River, its inflows, outflows, and other waters of the

26 overall Los Angeles River Watershed, of which the Rio Hondo and Los Angeles
27 River are a part.

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 1          76.    Polluted stormwater is discharged from the Facility into the Rio Hondo,
 2 the Los Angeles River, its inflows, outflows, and other waters of the overall Los

 3 Angeles River Watershed, of which the Rio Hondo and Los Angeles River are a part.

 4 The Rio Hondo, Los Angeles River, its tributaries, and the overall Los Angeles River

 5 Watershed are waters of the United States.

 6          77.    Defendant’s stormwater testing for the required pollutant parameters
 7 during the five years before Plaintiff served the NoV upon was wholly insufficient

 8 – in fact, the Defendant failed to submit the required stormwater testing for any

 9 Qualifying Storm Event (“QSE”) in any of the five previous annual reporting periods

10 prior to the date of the NoV. As stated in the Industrial Stormwater Permit, facilities

11 are required to provide testing data, for all requisite NALs, for four QSE’s per year.4

12          78.    Due to this complete lack of testing over a five year period, it is likely
13 that there the pollutant parameters of pH, O&G, TSS, Chemical Oxygen Demand,

14 Iron, Aluminum, Lead, and/or Zinc, are present in the Facility’s stormwater runoff

15 far exceeding acceptable levels.

16          79.    Additionally, as stated in the NoV, because Defendant has submitted
17 no testing whatsoever for the previous five years leading up to the NoV, they have

18 failed to properly address any potential insufficiencies with their IGP compliance at
19 the Facility through the ERA process proscribed by the IGP – a process that is

20 designed to allow Facilities to take measured and demonstrative action to fix issues

21 presented by pollutant overages present in stormwater testing results.

22          80.    Moreover, the pollutants associated with SIC code 5093 are particularly
23 dangerous to riverine ecosystems, including Oil & Grease, TSS, pH, Chemical

24 Oxygen Demand, and heavy metals such as Iron, Aluminum, Lead, and Zinc.

25 Failures to adequately test stormwater runoff, as is the case here, make it difficult to

26
27
     4 Under the Previous Industrial Stormwater Permit, this requirement was two QSEs per year.
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                                     PLAINTIFF’S COMPLAINT
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 1 determine both the amount of pollutants being discharged in a facility’s stormwater,

 2 and the efficacy of any control measures put in place.

 3        81.    In addition, in the time since the NoV has been served on Defendant,
 4 the Facility’s has continued to ignore its obligations under the IGP, upload testing

 5 data for only one (1) QSEs for the 2019-2020 annual reporting period rather than the

 6 requisite four (4). Furthermore, this submitted testing indicates the presence of TSS,

 7 Aluminum, and Iron in the Facility’s stormwater runoff far exceeding acceptable

 8 levels.   Finally, this submitted testing did not properly include testing for the
 9 requisite parameters of either Lead or Chemical Oxygen Demand.

10        82.    Such failure to comply with the self-monitoring and testing standards
11 of the IGP undercuts the design of the IGP and the ERA scheme which rely on self-

12 monitoring and reported testing to require self-remediation at Facility’s monitored

13 by the Regional Board. By failing to comply with such testing standards, Defendant

14 has failed and is continuing to fail to create and implement adequate BMPs

15 representing BATs and BCTs in place at the Facility, thereby violating the IGP and

16 CWA.

17        83.    Due to these numerous insufficiencies, discrepancies, and overages
18 contained in the Defendant’s annual stormwater sampling, the Facility’s discharges
19 of stormwater have been, are, and are likely to continue to be regularly contaminated

20 with higher levels of pollutants than are consistent with BMPs that constitute

21 BAT/BCT, and are thus violative the IGP and CWA.

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 1
                                FIRST CAUSE OF ACTION

 2           Discharges in Violation of Permit Prohibitions of the Industrial
 3                                 Stormwater Permit
                         (Violations of 33 U.S.C. §§ 1311, 1342)
 4
           84.    Plaintiff incorporates the allegations contained in all other paragraphs
 5
     as though fully set forth herein.
 6
           85.    The Industrial Stormwater Permit requires that "All Discharges of
 7
     storm water to waters of the United States are prohibited except as specifically
 8
     authorized by this General Permit or another NPDES permit.”
 9
           86.    Since at least April 14, 2015, Defendant has been discharging polluted
10
     stormwater from the Facility in violation of the Prohibitions of the Industrial
11
     Stormwater Permit during every significant rain event (defined by EPA as a rainfall
12
     event generating 0.1 inches or more of rain). See Exhibit 1, NoV at Attachment 3
13
           87.    The polluted stormwater discharged from the Facility during every
14
     significant rain event contains pollutants harmful to fish, plants, birds, and human
15
     health that have adversely affected, and continue to adversely affect, human health
16
     and the environment in violation of the Industrial Stormwater Permit.
17
           88.    Discharges of polluted stormwater from the Facility have in the past
18
     caused, and will continue to cause, pollution, contamination, and/or nuisance to the
19
     waters of the United States in violation of the Industrial Stormwater Permit and the
20
     Water Quality Standards set forth in the Basin Plan.
21
           89.    Each day since at least April 14, 2015, that Defendant has discharged
22
     polluted stormwater from the Facility in violation of the Industrial Stormwater
23
     Permit is a separate and distinct violation of CWA section 301(a), 33 U.S.C. §
24
     1311(a).
25
           90.    By committing the acts and omissions alleged above, Defendant is
26
     subject to an assessment of civil penalties pursuant to CWA sections 309(d) and 505,
27
     33 U.S.C. §§ 1319(d) and 1365.
28
                                             22
                                   PLAINTIFF’S COMPLAINT
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 1         91.    An action for injunctive relief is authorized by CWA section 505(a), 33
 2 U.S.C. § 1365(a). Continuing commission of the acts and omissions alleged above

 3 will irreparably harm Plaintiff, for which harm he has no plain, speedy, or adequate

 4 remedy at law.

 5         92.    An action for declaratory relief is authorized by 28 U.S.C. § 2201(a)
 6 because an actual controversy exists as to the rights and other legal relations of the

 7 Parties.

 8
                              SECOND CAUSE OF ACTION

 9            Discharge in Violation of Effluent Limitations of the Industrial
10                                  Stormwater Permit
                          (Violations of 33 U.S.C. §§ 1311, 1342)
11
           93.    Plaintiff incorporates the allegations contained in all other paragraphs
12
     as though fully set forth herein.
13
           94.    The Industrial Stormwater Permit’s SWPPP requirements and effluent
14
     limitations require dischargers to reduce or prevent pollutants in their stormwater
15
     discharges through the implementation of measures that must achieve BAT for toxic
16
     and nonconventional pollutants and BCT for conventional pollutants.
17
           95.    Defendant has discharged and continues to discharge stormwater from
18
     the Facility containing levels of pollutants that do not achieve compliance with the
19
     BAT/BCT requirements during every significant rain event occurring from April 14,
20
     2015 through the present. Defendant’s failure to develop and/or implement BMPs
21
     adequate to achieve the pollutant discharge reductions attainable via BAT or BCT at
22
     the Facility is a violation of the Industrial Stormwater Permit and the CWA. See
23
     1997 Permit, Order Part B(3); 2015 Permit, Sections I(D) (Finding 32), V(A); 33
24
     U.S.C. § 1311(b).
25
           96.    Each day since at least April 14, 2015, that Defendant has discharged
26
     stormwater containing pollutants in violation of the Industrial Stormwater Permit,
27

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 1 specifically Effluent Limitation B(3) of the 1997 Permit, is a separate and distinct

 2 violation of section 301(a) of the CWA, 33 U.S.C. § 1311(a).

 3         97.    Defendant’s CWA violations described in the paragraphs above will
 4 continue in the future until Defendant develops and implements BMPs at the Facility

 5 adequate to achieve pollutant discharge reductions attainable via BAT and BCT.

 6         98.    By committing the acts and omissions alleged above, Defendant is
 7 subject to an assessment of civil penalties pursuant to sections 309(d) and 505 of the

 8 CWA, 33 U.S.C. §§ 1319(d) and 1365.

 9         99.    An action for injunctive relief is authorized by CWA section 505(a), 33
10 U.S.C. § 1365(a). Continuing commission of the acts and omissions alleged above

11 will irreparably harm Plaintiff for which harm he has no plain, speedy, or adequate

12 remedy at law.

13         100. An action for declaratory relief is authorized by 28 U.S.C. § 2201(a)
14 because an actual controversy exists as to the rights and other legal relations of the

15 Parties.

16
                                THIRD CAUSE OF ACTION

17           Failure to Develop and Implement an Adequate Storm Water
18    Pollution Prevention Plan, In Violation of the Industrial Stormwater Permit
                         (Violations of 33 U.S.C. § 1311, 1342)
19
           101. Plaintiff incorporates the allegations contained in all other paragraphs
20
     as though fully set forth herein.
21
           102. The Industrial Stormwater Permit requires dischargers of stormwater
22
     associated with industrial activity to develop and implement an adequate SWPPP
23
     when they commence industrial activity. 1997 Permit, Section A(1); 2015 Permit,
24
     Section X(B).
25
           103. Defendant, as of April 14, 2015, has commenced industrial activity and
26
     continues to conduct industrial activity at the Facility.
27

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 1        104. Defendant has failed and continues to fail to develop and implement an
 2 adequate SWPPP or implement all necessary revisions to the SWPPP for the Facility

 3 as required by the Industrial Stormwater Permit.

 4        105. Defendant has failed and continues to fail to develop or implement a
 5 SWPPP for the Facility that includes BMPs adequate to meet the requirements of

 6 the Industrial Stormwater Permit, specifically Section A of the 1997 Permit and

 7 Section X of the 2015 Permit.

 8        106. Defendant has failed and continues to fail to adequately develop or
 9 implement a SWPPP at the Facility that prevents discharges from violating the

10 Discharge Prohibitions, Effluent Limitations, and Receiving Water Limitations of

11 the Industrial Stormwater Permit.

12        107. Each day since April 14, 2015, that Defendant has failed to adequately
13 develop and/or implement a SWPPP for the Facility in violation of the Industrial

14 Stormwater Permit is a separate and distinct violation of CWA section 301(a), 33

15 U.S.C. § 1311(a).

16        108. Defendant has been in violation of the Industrial Stormwater Permit’s
17 SWPPP requirements every day since April 14, 2015. Defendant will continue to

18 be in violation of the SWPPP requirements each day that Defendant fails to develop
19 and fully implement an adequate SWPPP for the Facility.

20        109. By committing the acts and omissions alleged above, Defendant is
21 subject to an assessment of civil penalties pursuant to CWA sections 309(d) and 505,

22 33 U.S.C. §§ 1319(d) and 1365.

23        110. An action for injunctive relief is authorized by CWA section 505(a), 33
24 U.S.C. § 1365(a). Continuing commission of the acts and omissions alleged above

25 will irreparably harm Plaintiff for which harm he has no plain, speedy, or adequate

26 remedy at law.
27

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                                PLAINTIFF’S COMPLAINT
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 1         111. An action for declaratory relief is authorized by 28 U.S.C. § 2201(a)
 2 because an actual controversy exists as to the rights and other legal relations of the

 3 Parties.

 4
                                  FOURTH CAUSE OF ACTION

 5    Failure to Develop and Implement an Adequate Monitoring and Reporting
 6               Program, In Violation of the Industrial Stormwater Permit
                           (Violations of 33 U.S.C. §§ 1311)
 7
           112. Plaintiff incorporates the allegations contained in all other paragraphs
 8
     as though fully set forth herein.
 9
           113. Defendant has discharged and continues to discharge pollutants from
10
     the Facility in violation of the Industrial Stormwater Permit. Defendant is also in
11
     violation of the Industrial Stormwater Permit for repeated failure to report proper
12
     annual stormwater discharge data as required by the Industrial Stormwater Permit.
13
     Thus, Defendant’s discharges constitute an unpermitted discharge of pollutants from
14
     the Facility to waters of the United States in violation of CWA section 301(a), 33
15
     U.S.C. § 1311(a).
16
           114. Defendant has been in violation of CWA section 301(a) every day they
17
     have discharged stormwater from the Facility to waters of the United States since
18
     April 14, 2015. Defendant will continue to be in violation of the CWA each day that
19
     unpermitted stormwater discharges from the Facility to waters of the United States.
20
           115. By committing the acts and omissions alleged above, Defendant is
21
     subject to an assessment of civil penalties pursuant to sections 309(d) and 505 of the
22
     CWA, 33 U.S.C. §§ 1319(d) and 1365.
23
           116. An action for injunctive relief is authorized by CWA section 505(a), 33
24
     U.S.C. § 1365(a). Continuing commission of the acts and omissions alleged above
25
     will irreparably harm Plaintiff for which harm he has no plain, speedy, or adequate
26
     remedy at law.
27

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                                   PLAINTIFF’S COMPLAINT
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 1        117. An action for declaratory relief is authorized by 28 U.S.C. § 2201(a)
 2 because an actual controversy exists as to the rights and other legal relations of the

 3 Parties.

 4                                RELIEF REQUESTED
 5        Plaintiff respectfully requests this Court to grant the following relief:
 6        A.      Declare Defendant to have violated and to be in violation of sections
 7 301(a) and (b) of the Clean Water Act, 33 U.S.C. §§ 1311(a) and (b), for discharging

 8 pollutants from the Facility in violation of a permit issued pursuant to section 402(p)

 9 of the CWA, 33 U.S.C. § 1342(p), for failing to meet effluent limitations which

10 include the Best Available Technology Economically Achievable and Best

11 Conventional Pollutant Control Technology requirements, and for failing to comply

12 with the substantive and procedural requirements of the IGP;

13        B.     Enjoin Defendant from discharging pollutants from the Facility to
14 stormwater discharge points, which discharge to the Rio Hondo, the Los Angeles

15 River and the overall Los Angeles River Watershed;

16        C.     Order Defendant to restore all receiving waters damaged by
17 Defendant’s illegal discharges of pollutants from the Facility;

18        D.     Enjoin Defendant from violating sections 301(a) and (b) and section
19 402(p) of the Clean Water Act and from violating the substantive and procedural

20 requirements of the Industrial Stormwater Permit at the Facility;

21        E.     Order Defendant to pay civil penalties of up to $51,570 per day per
22 violation for violations occurring after November 2, 2015 and $37,500 per day per

23 violation for violations occurring after January 12, 2009 but before November 2,

24 2015. 33 U.S.C. § 1319(d), 40 C.F.R. §§ 19.1-19.4;

25        F.     Award Plaintiff his costs (including reasonable attorney, witness, and
26 consultant fees) as authorized by the CWA section 505(d), 33 U.S.C. § 1365(d);
27        G.     Award such other relief as this Court may deem appropriate.
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